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                                                                      July 7, 2022
VIA ECF AND E-MAIL (CronanNYSDChambers@nysd.uscourts.gov)
Honorable John P. Cronan, U.S.D.J.
United States District Court
Southern District of New York
500 Pearl Street, Room 1320
New York, NY 10007

         Re:       Klein v. Jelly Belly Candy Company
                   Docket No. 1:22-CV-05629 (JPC) (JLC)___________________________

Dear Judge Cronan:
                                                                                                                    ALBANY
        On behalf of Defendant Jelly Belly Candy Company (“Jelly Belly”), we                                        AMSTERDAM

respectfully submit this letter pursuant to Rule 6(A) of Your Honor’s Individual Rules and                          ATLANTA
                                                                                                                    AUSTIN
Practices in Civil Cases to notify the Court that Jelly Belly intends to move to dismiss the                        BOCA RATON
Complaint filed by Plaintiff David Klein (“Plaintiff”) pursuant to Fed. R. Civ. P. 12(b)(6).                        BOSTON
                                                                                                                    CHICAGO
                                                                                                                    DALLAS
         This lawsuit is merely the latest in a long series of public relations stunts by                           DELAWARE
Plaintiff to capitalize off of Jelly Belly’s name and goodwill for his own gain. The parties                        DENVER

have not had any relationship for decades, but the disgruntled Plaintiff continues to                               FORT LAUDERDALE
                                                                                                                    HOUSTON
complain that he has not received the recognition he believes he is owed related to Jelly                           LAS VEGAS
Belly’s Jelly Belly® brand of jelly beans. Now, Plaintiff imagines a broad conspiracy                               LONDON*
against him, claiming that Jelly Belly colluded with “the press” and defamed him by                                 LOS ANGELES
                                                                                                                    MEXICO CITY+
“portray[ing] Plaintiff as not the true founder and inventor of the Jelly Belly jelly bean”                         MIAMI
and “misrepresent[ing] the original founder and creator of the Jelly Belly Candy                                    MILAN**
Company.” Compl. (Dkt. No. 1-2), at pp. 2, 5 of 6. 1 Plaintiff’s claims for libel and civil                         NEW JERSEY

conspiracy are barred in part by the statute of limitations, and the Complaint otherwise                            NEW YORK
                                                                                                                    NORTHERN VIRGINIA
fails to state those claims.                                                                                        ORANGE COUNTY
                                                                                                                    ORLANDO

         A. Plaintiff’s Claims Are Barred In Part By The Statute Of Limitations                                     PHILADELPHIA
                                                                                                                    PHOENIX
                                                                                                                    ROME**
        Plaintiff’s libel claim is subject to a one-year statute of limitations, which runs                         SACRAMENTO
from the publication of each allegedly defamatory statement. See NY CPLR 215(3).                                    SAN FRANCISCO

Plaintiff’s civil conspiracy claim is derivative of the libel claim and is subject to the same                      SEOUL∞
                                                                                                                    SHANGHAI
statute of limitations. See Murphy v. Morlitz, No. 15-CV-7256 (VSB), 2017 WL 4221472,                               SILICON VALLEY
at *8 (S.D.N.Y. Sept. 21, 2017). Plaintiff attempts to base his claims on three statements:                         TALLAHASSEE

an article published on April 4, 2019, emails sent between November 12, 2020 and                                    TAMPA
                                                                                                                    TEL AVIV^
November 19, 2020, and an article published on September 20, 2021. The statute of                                   TOKYO¤
limitations based on the April 4, 2019 article and the November 2020 e-mails expired long                           WARSAW~

before Plaintiff filed the Complaint on May 23, 2022. Plaintiff’s claims based on those                             WASHINGTON, D.C.
                                                                                                                    WESTCHESTER COUNTY
alleged statements are time-barred.                                                                                 WEST PALM BEACH
                                                                                                                    * OPERATES AS
                                                                                                                      GREENBERG TRAURIG MAHER LLP
                                                                                                                    +    OPERATES AS
                                                                                                                         GREENBERG TRAURIG, S.C.
                                                                                                                    **   STRATEGIC ALLIANCE
1
  The Complaint does not contain numbered paragraphs and counts in violation of Fed. R. Civ. P. 10, and             ∞    OPERATES AS
                                                                                                                         GREENBERG TRAURIG LLP

Jelly Belly intends to move, in the alternative, for a more definitive statement pursuant to Fed. R. Civ. P.             FOREIGN LEGAL CONSULTANT OFFICE
                                                                                                                    ^ A BRANCH OF
12(e) to the extent that any portion of Plaintiff’s claims survive the anticipated motion to dismiss.                 GREENBERG TRAURIG, P.A.,
                                                                                                                      FLORIDA, USA
GREENBERG TRAURIG, LLP         ATTORNEYS AT LAW                                                                    ¤ OPERATES AS
                                                                                                                      GT TOKYO HORITSU JIMUSHO
500 Campus Drive, Ste 400      Florham Park, New Jersey 07932-0677      Tel 973.360.7900      Fax 973.301.8410   ~    OPERATES AS
                                                                                                                         GREENBERG TRAURIG GRZESIAK SP.K.
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         B. Plaintiff Fails To Plead A Libel Claim

       To state a claim for libel, Plaintiff must allege “(1) a written defamatory statement of and
concerning the plaintiff, (2) publication to a third party, (3) fault, (4) falsity of the defamatory
statement, and (5) special damages or per se actionability.” Palin v. New York Times Co., 940
F.3d 804, 809 (2d Cir. 2019). The Complaint fails to plead all of those elements.

       First, Plaintiff does not allege any false or defamatory statement about him. In the
September 20, 2021 article (the only statement published within the statute of limitations), The
Washington Post stated that an earlier version of an article it published about Plaintiff
“misidentified David Klein as the founder of the Jelly Belly Candy Company” and that “Gustav
Goelitz was the founder of the company, which was formerly known as the Herman Goelitz Candy
Company.” This is true. David Klein is not the founder of the Jelly Belly Candy Company,
formerly known as the Herman Goelitz Candy Company. The Goelitz family candy business is
more than 100 years old, and was originally founded by Gustav Goelitz. These facts are confirmed
by the corporate documents of Jelly Belly and its predecessor entities. 2 Indeed, Plaintiff has
acknowledged these facts in various interviews.

        Moreover, to support a libel claim, the statement must be defamatory, i.e., it must “expose
the plaintiff to public contempt, ridicule, aversion or disgrace, or induce an evil opinion of him in
the minds of right-thinking persons.” Foster v. Churchill, 87 N.Y.2d 744, 751 (N.Y. 1996). “In
evaluating whether a cause of action for defamation is successfully pleaded, . . . if [the alleged
statements are] not reasonably susceptible of a defamatory meaning, [they] are not actionable and
cannot be made so by a strained or artificial construction.” Couloute v. Ryncarz, No. 11-CV-5986
(HB), 2012 WL 541089, at *5 (S.D.N.Y. Feb. 17, 2012). Thus, courts routinely dismiss claims
where the allegedly defamatory statements, under a normal reading, do not plausibly defame the
plaintiff. 3 The Washington Post’s statement that Gustav Goelitz was the founder of the Jelly Belly
Candy Company, which was formerly known as the Herman Goelitz Candy Company, does not
plausibly defame Plaintiff. “Courts will not strain to find defamation where none exists.” Dillon
v. City of New York, 704 N.Y.S.2d 1, 5 (N.Y. App. Div. 1st Dep’t 1999). None exists here.

        Second, all of the statements Plaintiff identifies in the Complaint are by media outlets, and
Plaintiff must therefore allege that Jelly Belly “was responsible for or ratified the publication.”
Fashion Boutique of Short Hills, Inc. v. Fendi USA, Inc., 314 F.3d 48, 59 (2d Cir. 2002). However,
Plaintiff only conclusorily asserts that The Washington Post article “was published at the direction
of Defendant.” Compl., at p. 5 of 6. That is not sufficient, and, regardless, Plaintiff does not plead
any alleged facts supporting his bald assertion. Simply parroting the legal elements of the claim
is not sufficient. See Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007).


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  The Court can take judicial notice of these facts. See AW Indus., Inc. v. Sleepingwell Mattress Inc., No. 10-CV-
04439 (NGG) (RER), 2011 WL 4404029, at *4 (E.D.N.Y. Aug. 31, 2011) (“[C]ertificates of amendment and
incorporation are public documents of which it is permissible to take judicial notice.”).
3
  See, e.g., Fairstein v. Netflix, Inc., 553 F. Supp. 3d at 67 (dismissing defamation claim where statement “could not
plausibly expose [plaintiff] to public contempt, ridicule, or disgrace, or an induce an evil opinion of her”); Aslin v.
Univ. of Rochester, No. 17-CV-06847, 2019 WL 4112130, at *23 (W.D.N.Y. Aug. 28, 2019) (rejecting plaintiff’s
request “to strain the plain words of this statement to impute a defamatory meaning” because “the statement is not
defamatory, let alone defamatory per se, and the plaintiffs’ claims based on this statement therefore are dismissed.”);
Karedes v. Vill. of Endicott, No. 01-CV-1395, 2004 WL 1683146, at *4 (N.D.N.Y. Mar. 22, 2004) (granting motion
for judgment on the pleadings where “there are no set of facts from which Plaintiff could prove that the statements in
the broadcast that concern him are defamatory”).
                                                          2
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        Third, Plaintiff is a public figure, 4 and must therefore allege that Jelly Belly acted with
“actual malice.” BYD Co. Ltd. v. VICE Media LLC, 531 F. Supp. 3d 810, 818 (S.D.N.Y. 2021).
Plaintiff’s bald assertion that Jelly Belly acted “recklessly” is not sufficient, and is not supported
by any factual allegations pleading actual malice. Plaintiff’s libel claim should be dismissed on
this basis as well. See, e.g., Orenstein v. Figel, 677 F. Supp. 2d 706, 711 (S.D.N.Y. 2009)
(dismissing defamation claim where plaintiff only pleaded the conclusory assertion that defendant
“acted [] recklessly”); Egiazaryan v. Zalmayev, No. 11-CV-2670 (PKC), 2011 WL 6097136, at *8
(S.D.N.Y. Dec. 7, 2011) (dismissing defamation claim, finding that “[plaintiff’s] repeated
assertion that [defendant] acted with malice is unavailing because it is a legal conclusion not
entitled to presumption of truth, and he alleges no facts plausibly supporting that conclusion.”).

         C. Plaintiff Fails To Plead A Civil Conspiracy Claim

        Plaintiff civil conspiracy claim is derivative of Plaintiff’s libel claim, so Plaintiff’s failure
to plead the elements of the underlying libel claim also requires the dismissal of his civil conspiracy
claim. See Marino v. Grupo Mundial Tenedora, S.A., 810 F. Supp. 2d 601, 610 (S.D.N.Y. 2011)
(“Claims of civil conspiracy which do not allege, or which insufficiently allege, an underlying tort
must be dismissed for failure to state a claim under Rule 12(b)(6).”). Moreover, Plaintiff does not
plead an agreement among the alleged conspirators. Instead, Plaintiff only conclusorily asserts
that “[a]n agreement was [] made by The Washington Post on September 20, 2021 when the
Washington Post retracted Plaintiff as the founder and creator of the Jelly Belly Candy Company.”
Compl., at p. 5 of 6. Plaintiff does not allege any facts that might support this bare assertion.
Courts uniformly dismiss civil conspiracy claims where an agreement is conclusorily asserted. 5

         Jelly Belly respectfully submits the following briefing schedule for its anticipated motion:

                       •   Jelly Belly’s moving brief: July 22, 2022
                       •   Plaintiff’s opposition brief: August 5, 2022
                       •   Jelly Belly’s reply brief: August 12, 2022

         We thank the Court for its attention to this matter and its consideration of this letter.

                                                                Respectfully submitted,

                                                                GREENBERG TRAURIG, LLP
                                                                By: /s/ Eric D. Wong
                                                                       Eric D. Wong
                                                                Attorneys for Defendant
cc: Counsel of Record via ECF

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  Plaintiff has aggressively sought media and public attention regarding the Jelly Belly® jelly bean, and is therefore a
limited-purpose public figure. See, e.g., Biro v. Condé Nast, 963 F. Supp. 2d 255, 271 (S.D.N.Y. 2013) (finding
plaintiff was limited-purpose public figure where he had been “interviewed for a feature-length documentary,” he
made a “myriad” of “public appearances,” and he “voluntarily injected himself” into the public sphere).
5
  See, e.g., Jacquemyns v. Spartan Mullen Et Cie, S.A., No. 10-CV-1586 (CM) (FM), 2011 WL 348452, at *7
(S.D.N.Y. Feb. 1, 2011) (“Bare allegations of conspiracy are not enough to state a claim; a pleader must allege
particular facts supporting a meeting of the minds. . . . Plaintiffs make no attempt to allege facts indicative of an
agreement among defendants to defraud plaintiffs. Without more, the court is not required to presume that plaintiffs'
conclusory statements are true.”); see also Ostrer v. Aronwald, 567 F.2d 551, 553 (2d Cir. 1977) (noting that the
Second Circuit “has repeatedly held that complaints containing only ‘conclusory,’ ‘vague,’ or ‘general allegations’ of
conspiracy . . . will be dismissed”).
                                                           3
